Case 2:24-cv-01883-SSV-EJD Document 3-1 Filed 07/29/24 Page 1of1
18.44 (Rev. 04/21) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS
Tiffanie Current Housing Authority of New Orleans

(b) County of Residence of First Listed Plaintiff Orleans Parish County of Residence of First Listed Defendant Orleans Parish

(EXCEPT IN U.S, PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (/f Known)

Hannah Adams/SLLS/1340 Poydras St., Suite 600, New Kathryn M. Knight and Rachel W. Wisdom/ Stone Pigman,
Orleans 70112/ (504) 529-1000 ext. 258 909 Poydras St., Suite 3150, NOLA, 70112/ (504) 581-3200

II. BASIS OF JURISDICTION (Place an “X” in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (lace an “x” in One Box for Plaintiff

(For Diversity Cases Only) and One Box for Defendant)

[Ji U.S. Government [x]3 Federal Question PTF DEF PIF DEF

Plaintiff? (U.S. Government Not a Party) Citizen of This State C I Cj 1 Incorporated or Principal Place El 4 C4
of Business In This State

Cc 2 U.S. Government 4 Diversity Citizen of Another State O 2 CO 2 Incorporated and Principal Place oO 5 Cc 5

Defendant (ndicate Citizenship of Parties in Item 111) of Business In Another State
Citizen or Subject of a CT 3 CT 3 Foreign Nation O 6 [Is
Foreign Country

IV. ATE OF SUIT “(Place

“X" in One e Bax Only) Click — for: Namie of alt Code, mescrR Hons

PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure
310 Airplane O 365 Personal Injury - of Property 21 USC 881 493 Withdrawal |_| 376 Qui Tam (31 USC
315 Airplane Product Product Liability | 1690 Other 28 USC 157 3729(a))

110 Insurance
120 Marine
130 Miller Act

140 Negotiable Instrument Liability O 367 Health Care/ [| 400 State Reapportionment
150 Recovery of Overpayment 320 Assaull, Libel & Pharmaceutical | | 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act | | 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
be 152 Recovery of Defaulted Liability oO 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
fiz] 153 Recovery of Overpayment Liability PERSONAL PROPERTY 880 Defend Trade Scerets | 480 Consumer Credit
a of Veteran's Benefits 350 Motor Vehicle 370 Other Fraud Act of 2016 (15 USC 1681 or 1692)
|_| 160 Stockholders’ Suits - 355 Motor Vehicle ~ 371 Truth in Lending Act L] 485 Telephone Consumer
[_] 190 Other Contract Product Liability LJ 380 Other Personal | |720 Labor/Management : i 3 Protection Act
3] 195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395¢1) 490 Cable/Sat TV
|_| 196 Franchise Injury O 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
|_| 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpnictice Leave Act 864 SSID Title XVI $90 Other Statutory Actions
[) REAL PROPERTY Cathe ee ER PETI | _|790 Other Labor Litigation 865 RSI (405(g)) 891 Agricultural Acts
|_| 210 Land Condemnation 440 Other Cri Rights Habcas Corpus: 791 Employee Retirement 893 Environmental Matters
|_| 220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act 1 i =|} 895 Freedom of Information
|_| 230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate |_| 870 Taxes (U.S. Plaintiff Act
|_| 240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
|_| 245 Tort Product Liability Accommodations [_] 530 General (J 871 IRS—Third Party $99 Administrative Procedure
[]290 All Other Real Property — [__] 445 Amer. w/Disabilities -[[_] 535 Death Penalty Te Gi a 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization AEBIIESTON Agency Decision
446 Amer. w/Disabilities -] _|540 Mandamus & Other 465 Other Immigration C_] 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X" in One Box Only)
1 Original EE]? Removed from oO 3. Remanded from oO 4 Reinstated or oO 5 Transferred from 6 Multidistrict Oo 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -

(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):
42 U.S.C. 1437f, 24 C.F.R. 982.1 et seq., and 24 C.F.R. 5.2005
Brief description of cause:
breach of duties under federal HUD regulations

VI. CAUSE OF ACTION

VII. REQUESTED IN = [1] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: — [Yes  [E]No
VIII. RELATED CASE(S)
1 ‘See instructions):
IF ANY Cea meinen" JUDGE DOCKET NUMBER

DATE SIGNATERE OF ATTORNEY OF REC
July 29, 2024

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG, JUDGE

